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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF WASHINGTON
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       2018-03197
       GIGA WATT INC



       Case Type :                    bk
       Case Number :                  2018-03197
       Case Title :                   GIGA WATT INC

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